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                                             Chicago        Melville          Nashville         San Diego            Wilmington

                                             Boca Raton     Manhattan         Philadelphia      San Francisco        W ashington, D.C.




                                                            July 29, 2024

                                                                                                                       VIA ECF

     Magistrate Judge Joseph A. Marutollo
     United States District Court
       for the Eastern District of New York
     225 Cadman Plaza East
     Courtroom N324
     Brooklyn, NY 11201

               Re:      In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation,
                        No. 1:05-MD-1720 (MKB)(JAM)

    Dear Judge Marutollo:

            Following receipt of your text-only Order dated July 26, 2024, Rule 23(b)(3) Class Counsel
    served the law firm Milberg Coleman Bryson Phillips Grossman, LLC a copy of your Order by email
    on July 26, 2024.

                                                             Respectfully submitted,



                                                             ALEXANDRA S. BERNAY

    cc:     All Counsel via ECF
            Jonathan Cohen (via email)
            Gary M. Klinger (via email)




    4883-5528-0340.v1

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